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                  United States Court of Federal Claims
                                                   No. 09-367 L
                                                 January 14, 2011

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John P. Furlong and Lauren B. Pearce, et al.,
                           Plaintiffs,
                                                                          RCFC 23; Class Certification;
v.                                                                        Summary Judgment; Order of
                                                                          Disposition of Motions
United States of America,
                           Defendant.
_______________________________________________________________________


         J. Robert Sears, Baker Sterchi Cowden & Rice, LLC, St. Louis, MO, for plaintiffs.

        Jessica M. Held, Environment and Natural Resources Division, United States Department
of Justice, Washington, DC, for defendant.


                                         OPINION and ORDER

BLOCK, Judge.
        Before the court is defendant’s motion for a scheduling order, in which defendant asks that
submission of the parties’ anticipated summary judgment motions be scheduled only after the
court rules on plaintiffs’ pending motion for class certification. Def.’s Mot. for Scheduling Order
(“Def.’s Mot.”) at 3.

        The second amended complaint in this “rails to trails” case names one hundred and one
plaintiffs suing “[f]or [t]hemselves and [a]s [r]epresentatives of a [c]lass of [s]imilarly [s]ituated
[p]ersons.” 2d Am. Compl. at 2. The named plaintiffs allege that defendant—through operation
of the National Trails System Act Amendments of 1983, Pub. L. No. 98-11, § 208, 97 Stat. 42, 48
(codified at 16 U.S.C. § 1247(d))—deprived them and other similarly situated landowners of their
property without just compensation, in violation of the Fifth Amendment of the U.S. Constitution.
2d Am. Compl. ¶¶ 108–15. On September 25, 2009, more than two months after expiration of the
Tucker Act’s six-year limitations period, see id. ¶ 108, 28 U.S.C. § 2501, plaintiffs moved for
class certification, see Pls.’ Mot. to Certify Class at 1.

        Shortly thereafter, the court granted the parties’ joint motion to stay all briefing on
plaintiffs’ motion for class certification, pending the Federal Circuit’s decision in Bright v. United
States. Order of October 14, 2009. That decision ultimately issued on May 3, 2010. See Bright v.
United States, 603 F.3d 1273 (Fed. Cir. 2010). Bright held that the Tucker Act’s statute of
limitations is subject to class-action tolling, thus making the class-action device hypothetically
available to plaintiffs in this case. Id. at 1274.
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         Subsequently, the court continued the stay of briefing on plaintiffs’ motion for class
certification, pending a filing of a petition for rehearing or for writ of certiorari in Bright. See
Order of May 19, 2010. On September 28, 2010, the Federal Circuit denied the aforementioned
petition for rehearing. See Pls.’ Mot. to Lift Stay at 2. And a petition for a writ of certiorari in
Bright was not filed. See Def.’s Notice at 1, ECF No. 28. Accordingly, on January 5, 2011, the
court lifted the stay of briefing on plaintiffs’ motion for class certification and directed defendant
to file its response to that motion by February 4, 2011.

        Defendant’s counsel now asserts that plaintiffs will seek summary judgment on liability
before any ruling on class certification. See Def.’s Mot. at 1. Consequently, defendant requests a
scheduling order that sets the deadlines for submission of the parties’ cross-motions for summary
judgment only after a ruling on class certification. 1 Id. at 3. Defendant argues that it is “neither
consistent with existing precedent nor in the interests of judicial economy for the [c]ourt to rule on
the issue of liability prior to its determination of who the parties are in this case.” Id. at 1.
Defendant further argues that determining liability prior to ruling on plaintiffs’ motion for class
certification “conflicts with the procedures for class actions as set out in Rule 23” of the Rules of
the United States Court of Federal Claims (“RCFC”). Def.’s Reply in Supp. of Def.’s Mot. for
Scheduling Order (“Def.’s Reply”) at 1–2. The court disagrees.

        First and foremost, the weight of precedent is clear: it is within the court’s discretion to
decide the merits of plaintiffs’ claims—whether on a motion for summary judgment or other
dispositive motion—before deciding whether the suit may proceed as a class action. See, e.g.,
Kehoe v. Fidelity Federal Bank & Trust, 421 F.3d 1209, 1211 n.1 (11th Cir.2005) (finding no
error in the trial court’s decision to grant summary judgment without addressing the plaintiff’s
motion for class certification); Curtin v. United Airlines, Inc., 275 F.3d 88, 92 (D.C. Cir. 2001)
(same). Notable in this regard is the Supreme Court’s decision in Eisen v. Carlisle & Jacquelin,
which held that a court has no “authority to conduct a preliminary inquiry into the merits of a suit
in order to determine whether it may be maintained as a class action.” 417 U.S. 156, 178 (1974)
(emphasis added). Implicit in Eisen’s holding is that the court may properly examine the merits,
even prior to class certification, when ruling on an unrelated motion for summary judgment or
other disposition. See Curtin, 275 F.3d at 92 (observing that “nothing in Eisen . . . requires the
district court to rule on class certification before granting or denying a motion for summary
judgment”); see also Greenlee County, Arizona v. United States, 487 F.3d 871, 880 (Fed. Cir.
2007) (explaining that Eisen does not “require[] that class certification be addressed before ruling
on a motion to dismiss”).

        Likewise, nothing in RCFC 23—which is “modeled largely on the comparable” Federal
Rule of Civil Procedure (“FRCP”) 23, see Rules Committee Notes—precludes the court from
determining defendant’s liability, at least as to the named plaintiffs, prior to resolving the issue of
class certification. See, e.g., Schweizer v. Trans Union Corp., 136 F.3d 233, 239 (2d Cir. 1998)
(“There is nothing in [FRCP] 23 which precludes the court from examining the merits of
plaintiff’s claims on a . . . Rule 56 motion for summary judgment simply because such a motion
precedes resolution of the issue of class certification.”) (internal quotation marks omitted). The
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  Furthermore, pursuant to the court’s initial scheduling order, discovery will close either (1)
ninety days after a denial of plaintiffs’ motion for class certification, or, should the motion be
granted, (2) ninety days after the close of the opt-in period. Initial Scheduling Order, ECF No. 17.

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rule’s reference to “an early practicable time,” RCFC 23(c)(1)(A), affords the court the flexibility
to defer ruling on class certification pending an initial decision on the merits. Curtin, 275 F.3d at
92 (explaining that the language of FRCP 23 makes “the order of disposition of motions for
summary judgment and class certification a question of discretion for the trial court”); 7B Charles
A. Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice & Procedure § 1785.3 (3d ed.
2005) (“The reference to ‘at an early practicable time’ [in FRCP 23] recognizes that there may be
many valid reasons justifying the deferral of the initial certification decision, including that the
opposing party may prefer to win dismissal or summary judgment as to the individual plaintiffs.”).

        Finally, no judicial resources would be wasted if the court were to address the question of
defendant’s liability prior to addressing the class certification question. Should the court
ultimately allow this matter to proceed as a class action, any “individual issues that might exist
with respect to those currently unidentified claimants,” Def.’s Mot. at 2, would have to be
considered either way, whether on a belated summary judgment motion applicable to the entire
class or on a second motion applicable only to those additional claimants. And defendant is
simply incorrect in positing that a ruling on summary judgment prior to class certification would
fix defendant’s liability as to all putative class members. See Def.’s Reply at 3. To be sure, the
court’s determination of some issues—e.g., whether the railroad abandoned the right-of-way in
question—would apply to any additional claimants who later opt into the class. However,
defendant’s liability to those additional claimants would still turn on the threshold determination
of whether each claimant can demonstrate a cognizable property interest in land underlying the
railroad right-of-way. See Air Pegasus of D.C., Inc. v. United States, 424 F.3d 1206, 1213 (Fed.
Cir. 2005) (explaining that the court must not reach the question of whether “the governmental
action at issue amounted to a compensable taking” from a given claimant, “without first
identifying a cognizable property interest” held by that claimant).

        In sum, both RCFC 23 and the weight of precedent support plaintiffs’ prerogative to move
for, and the court’s discretion to issue, summary judgment on defendant’s liability to the named
plaintiffs prior to resolution of the class certification question. Furthermore, the interests of
judicial economy are not to the contrary in this case. Accordingly, defendant’s above MOTION
IS DENIED.

       IT IS SO ORDERED.

                                                      s/Lawrence J. Block
                                                      Lawrence J. Block
                                                      Judge




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